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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiffs,         )
                                    )                 4:06CR3016
          v.                        )
                                    )
ARMANDO GARCIA-DELACRUZ,            )
                                    )                    ORDER
                Defendant.          )
                                    )




     IT IS ORDERED:

     1. The oral motion of defendant’s counsel to reschedule the
hearing on defendant’s motion for new counsel, filing 58, is
granted.

     2. The hearing is rescheduled from November 1 to
October 27, 2006 at 3:30 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     3. Defendant and defendant’s counsel shall be present for
the hearing. Plaintiff’s counsel need not be present.

     DATED this 24th day of October, 2006.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
